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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

             Plaintiff,
v.                                           ORDER
                                             Criminal No. 10‐187
Amina Farah Ali,

           Defendant.
__________________________________________________________________

      Pursuant to the Court’s Order dated October 3, 2011 [Doc. No. 132], the

Court found Defendant Ali in contempt of Court for failing to rise for the Court

when Court was called to Order and Recessed.

      IT IS HEREBY ORDERED:

      The Court hereby finds that on this day, October 3, 2011, Defendant Ali

failed to rise on ten occasions. Defendant Ali shall be sentenced to five days for

each incidence of contempt, to be served consecutively, and after the trial in this

matter is completed.

Date: October 3, 2011

                                s/ Michael J. Davis
                                Michael J. Davis
                                Chief Judge
                                United States District Court
